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                              UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

SINA MOGHTADER                                    §
                                                  §
        Plaintiff,                                §
                                                  §
v.                                                §        CIVIL NO. SA-18-CV-00632-XR
                                                  §
MARK MCPHERSON, et al.                            §
                                                  §
        Defendants.                               §


                     DEFENDANT MCPHERSON’S MOTION TO DISMISS

        Pursuant to Fed. R. Civ. P. 4(m), Defendant Mark McPherson respectfully moves this

Court for an Order dismissing Plaintiff’s claims for failure to serve the complaint on Defendant

within 90 days.

                                              BACKGROUND

1.      Plaintiff originally filed this complaint on June 24, 2018, generally alleging constitutional

violations, Americans with Disabilities Act (ADA) violations, and negligence claims against

prison officials arising out of a period of confinement. 1 (Dkt 1) Plaintiff served Defendant

McPherson with a summons and a copy of the lawsuit on June 29, 2018. (Dkt 8). To date, Plaintiff

has still not served the United States as required by Fed. R. Civ. P. 4(i)(3). The United States

Attorney’s Office, who has been authorized to represent Defendant McPherson in his individual

capacity, informed Plaintiff of this omission on two occasions and has also instructed Plaintiff’s



1
  Plaintiff’s 16 page complaint mentions Defendant Deputy United States Marshal (DUSM) Mark McPherson
twice: first to allege that on September 9, 2016, DUSM McPherson received a letter from Plaintiff’s attorney
requesting Plaintiff be given access to medication (which he then allegedly promptly received), and second to
allege DUSM McPherson was “aware” of GEO’s previous failures to provide medication to inmates but took no
steps to ensure Plaintiff received medication until DUSM McPherson was asked by Plaintiff’s counsel. (Dkt 1
¶ 26, 37) The complaint also alleges that the U.S. Marshal Service “supervises” GEO Group, which is
inaccurate.
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counsel on the proper means of perfecting service. (Exhibit 1). However, more than 100 days after

filing suit, Plaintiff has yet to serve the United States. In the meantime, Plaintiff proceeded against

the other Defendants in this case and the parties have entered the initial stages of discovery. See

generally Dkt 16-30.

                                            LAW AND ARGUMENT

2.      Fed. R. Civ. P. 4(m) requires the dismissal of a suit if the plaintiff fails to serve a defendant

within 90 days of filing, unless “plaintiff shows good cause for the failure, the court shall extend

the time for service for an appropriate period.” If good cause does not exist, the court may, in its

discretion, decide whether to dismiss the case without prejudice or extend time for service.

Thompson v. Brown, 91 F.3d 20, 21 (5th Cir. 1996).

3.      “Good cause” under Fed. R. Civ. P. 4(m) requires “at least as much as would be required

to show excusable neglect, as to which simple inadvertence or mistake of counsel or ignorance of

the rules usually does not suffice.” Lambert v. United States, 44 F.3d 296, 299 (5th Cir. 1995). In

addition, courts normally require “some showing of good faith on the part of the party seeking an

enlargement and some reasonable basis for noncompliance within the time specified....” Id.

4.      Plaintiff cannot establish “good cause” for failing to meet this basic deadline, as he has not

even attempted service on the United States. 2 Further, this case does not involve a Defendant who

is consciously evading service, rather Defendant has written to Plaintiff’s counsel multiple times



2
  Compare Crisp v. Sears, Roebuck & Co., No. CIV.A. SA-13-CA-962, 2014 WL 108670, at *2 (W.D. Tex. Jan.
9, 2014) (finding where Plaintiff made only one unsuccessful attempt to serve Defendant, was informed that the
proof of service was insufficient but made no further attempts, and waited until the last day of the deadline to
take action by moving for an extension was not “good cause”) with Luppino v. York, No. SA-16-CV-409-XR,
2017 WL 7788137, at *1 (W.D. Tex. Jan. 4, 2017) (good cause shown where Plaintiff attempted service at the
registered address of Defendant only to find that the registered address was closed, continued efforts to locate
Defendant, conducted repeated web-based searches to find a valid address for Defendant, and requested this
information from co-defendant. Plaintiff also included the affidavits of two process servers, describing a handful
of attempts to serve Defendant at different addresses and the difficulties that they encountered in locating a valid
address for Defendant).
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providing specific instructions on how service may be accomplished.

5.     In the Rule 26(f) report dated September 24, 2018, Plaintiff acknowledged that there were

unserved parties, but “request[ed] they not be dismissed and that he have 60 more days to serve.”

Plaintiff did not articulate precisely why he needs another two months to serve the United States.

There are no procedural or logistical hurdles to serving the United States.

6.     Even though Plaintiff has not demonstrated good cause to extend the deadline, the Court

may nevertheless authorize additional time for service in its discretion. See Thompson, 91 F.3d at

21. The Court should not exercise this discretion to save Plaintiff’s complaint lawsuit against

DUSM McPherson. Plaintiff’s complaint contains approximately 70 paragraphs worth of

allegations, but only two of them contain vague allusions to the purported acts or omissions of

DUSM McPherson. The thrust of Plaintiff’s complaints are directed at GEO Group and its

personnel who operated the jail at which Plaintiff allegedly suffered various constitutional

violations. Dismissal as to DUSM McPherson would not meaningfully impact Plaintiff’s overall

lawsuit. Finally, given Plaintiff counsel’s actions to date—ignoring the United States’ instructions

on how to perfect service while filing motions to compel, conducting Rule 26(f) conferences, and

filing Rule 26(f) reports—it appears Plaintiff’s counsel himself does not feel that DUSM

McPherson’s participation is necessary to reach the ultimate resolution of this case.

                                          CONCLUSION

       For the foregoing reasons, Defendants respectfully request this Court grant Defendant’s

motion, and Plaintiff’s complaint be dismissed pursuant to Fed. R. Civ. P. 4(m).
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Dated: October 5, 2018                               Respectfully submitted,

                                                     JOHN F. BASH
                                                     UNITED STATES ATTORNEY

                                                     /s/ James E. Dingivan
                                                     JAMES E. DINGIVAN
                                                     Assistant United States Attorney
                                                     Texas Bar No. 24094139
                                                     601 N.W. Loop 410, Suite 600
                                                     San Antonio, TX 78216-5597
                                                     Tel. (210) 384-7372
                                                     Fax: (210) 384-7312
                                                     james.dingivan@usdoj.gov
                                                     ATTORNEYS FOR DEFENDANT




                                CERTIFICATE OF SERVICE
       I hereby certify that on October 5, 2018, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system and served the following by certified mail delivery on:

       Randall L. Kallinen
       511 Broadway Street
       Houston, Texas 77012

                                             /s/James E. Dingivan
                                             JAMES E. DINGIVAN
                                             Assistant United States Attorney
